               Case 3:21-cv-06638-EMC Document 44 Filed 01/27/23 Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2 MICHELLE LO (NYRN 4325163)
   Chief, Civil Division
 3 ADRIENNE ZACK (CABN 291629)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36055
 5        San Francisco, California 94102-3495
          Telephone: (415) 436-7031
 6        Fax: (415) 436-6748
          adrienne.zack@usdoj.gov
 7
   Attorneys for Defendant the United States
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   BAYVIEW LOAN SERVICING, LLC,                      )   CASE NO. 3:21-CV-6638-EMC
                                                       )
13           Plaintiff,                                )
                                                       )   JOINT STIPULATION AND [PROPOSED]
14      v.                                             )   ORDER TO CONTINUE CASE MANAGEMENT
                                                       )   CONFERENCE
15   DAVE STANLEY; BERRY W. MEYER,                     )
     Executor of the Estate of Melvin Rouse; and       )
16                                                     )
     DOES 1 to 50,                                     )
17                                                     )
             Defendants.                               )
18
19           Pursuant to Civil Local Rules 6-2 and 7-12, the parties to this action hereby stipulate and request
20 that the Court continue the Case Management Conference currently set for January 31, 2023, see ECF

21 No. 41, and all associated deadlines until April 25, 2023, at 2:30 p.m.

22           The parties request this change because the parties’ settlement discussions remain ongoing and
23 productive. The parties respectfully suggest that these discussions should be permitted to proceed

24 before another case management conference is held.

25           This is the parties’ third joint request to modify the schedule in this case. See Declaration of
26 Adrienne Zack ¶ 3. Plaintiff and Defendant the United States previously stipulated to an extension of

27 time to respond to the complaint. See ECF No. 6. The parties also previously stipulated to continue the

28 case management conference twice. See ECF Nos. 38, 39, 40, 41. The requested modification to

     JT. STIP. TO CONT. CMC
     CASE NO. 3:21-CV-6638-EMC
                 Case 3:21-cv-06638-EMC Document 44 Filed 01/27/23 Page 2 of 2




 1 continue the case management conference will not impact the schedule for the case because no further

 2 schedule has yet been set and because this matter is still in its initial stages. Zack Decl. ¶ 4.

 3

 4       DATED: January 19, 2023                              Respectfully submitted,

 5       /s/ Seth Harris 1                                    STEPHANIE M. HINDS
         SETH HARRIS                                          United States Attorney
 6
         Attorney for Plaintiff
                                                              /s/ Adrienne Zack
 7
                                                              ADRIENNE ZACK
 8                                                            Assistant United States Attorney
                                                              Attorneys for Defendant the United States
 9
         /s/ Lisa Stanley1                                    /s/ David Stanley1
10       LISA STANLEY                                         DAVID STANLEY
         Defendant Pro Se                                     Defendant Pro Se
11

12

13                                               [PROPOSED] ORDER

14             Pursuant to stipulation, IT IS SO ORDERED. The Case Management Conference is continued

15 until April 25, 2023, at 2:30 p.m. A joint case management statement is due one week prior.

16

17 DATED: January 27, 2023

18
                                                            THE HON. EDWARD M. CHEN
19                                                          United States District Judge

20

21

22

23

24

25

26

27
     1
28     In compliance with Civil Local Rule 5-1(h)(3), the filer of this document attests under penalty of perjury
     that all signatories have concurred in the filing of this document.
     JT. STIP. TO CONT. CMC
     CASE NO. 3:21-CV-6638-EMC
